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UNITED STATES BANKRUPTCY COURT RETURN DATE: FEBRUARY 6, 2018
EASTERN DISTRICT OF NEW YORK TIME: 10:30 A.M.
__________________________________________________________ X
ln Re: Chapter 7
Frank Vincent Belmonte, Case No. 817-73721-735

Debtor. Notice of Hearing
__________________________________________________________ X

PLEASE TAKE NOTICE, that on February 6, 2018 at 10:30 a.m. the undersigned
Will move before the Honorable Alan. S. Trust, United States Banlcruptcy Judge, United States
Banl<ruptcy Court, Alfonse M. D’Amato U.S. Courthouse, 290 Federal Plaza, Room 760, Central
lslip, NeW York 11722, or as soon thereafter as counsel can be heard for an Order: (a) compelling
the Debtor to cooperate With the Trustee and his brokers With respect to the marketing and sale of
the Debtor’s real property located at 23 Gary Road, Syosset, NeW Yorl< (the “Real Property”); and
(b) such other and further relief as this Court deems just and proper.

PLEASE TAKE FURTHER NOTICE, that a copy of the application is available for
inspection at the office of the Clerk of the United States Banliruptcy Court during normal business
hours at the Alfouse M. D’Amato U.S. Courthouse, 290 Federal Plaza, Central Islip, NeW Yorl<
11722 or may be obtained by contacting the undersigned

PLEASE TAKE FURTHER NOTICE, Objections to the Trustee’s application
shall be filed as folloWs: (a) (i) through the Banl<ruptcy Court’s electronic filing system (in
accordance With Order No. 476), Which may be accessed through the lnternet at the Banl<ruptcy
Court’s Website: Www.nyeb.uscourts.gov, and (ii)' in portable document format (PDF) using
Adobe Exchange software for conversion; or (b) if a party is unable to file electronically, such party

shall submit the objection in PDF format on a diskette in an envelope With the case name, case

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number, type and title of document, document number of the document to Which the objection
refers, and the flle name on the outside of the envelope. A hard copy of the objection, Whether filed
pursuant to section (a), (b) or (c), as set forth in this paragraph, shall be hand-delivered directly to
the Cham'bers of the Honorable Alan S. Trust, and a hard copy shall be served upon the Trustee’s
counsel, Weinberg, Gross & Pergament LLP, 400 Garden City Plaza, Suite 403, Garden City,
NeW York 11530, Attention: Marc A. Pergament, Esq., the Offlce of the United States Trustee,
Alfonse M. D’Alnato U.S. Courthouse, 560 Federal Plaza, Central lslip, New Yorl<; 11722, and
filed With the Clerl< of the Bankruptcy Court, With a copy to chambers on or before February l,
2018.

Dated: Garden City, NeW Yorl<

January 8, 2018 ,
Weinberg, Gross & Pergament LLP

Attorne ‘fo"f“‘l` stee
By: )CP"::"'"""“" '

Marc A. Pe?§%elit

400 Garden City Plaza, Suite 403
Garden City, New Yorl< 11530
(516) 877-2424

